           Case 8:21-ap-01095-SC Doc 56 Filed 09/04/22                                            Entered 09/04/22 21:14:35                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Central District of California
The Huntington Beach Gables Homeowners A,
       Plaintiff                                                                                                       Adv. Proc. No. 21-01095-SC
Gallian,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 02, 2022                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 04, 2022:
Recip ID                  Recipient Name and Address
aty                     + Michael D Poole, Feldsott & Lee, 23161 Mill Creek Dr Ste 300, Laguna Hills, CA 92653-7907
dft                     + Jamie L Gallian, 16222 Monterey Ln #376, Santa Ana, CA 92649-2258

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
dft                            Randall L Nickel
pla                            The Huntington Beach Gables Homeowners Association

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 04, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 1, 2022 at the address(es) listed
below:
Name                               Email Address
Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Jeffrey I Golden (TR)
                                   lwerner@go2.law jig@trustesolutions.net;kadele@go2.law

Mark A Mellor
                                   on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com
         Case 8:21-ap-01095-SC Doc 56 Filed 09/04/22                                  Entered 09/04/22 21:14:35                 Desc
                             Imaged Certificate of Notice                             Page 2 of 3
District/off: 0973-8                                         User: admin                                                        Page 2 of 2
Date Rcvd: Sep 02, 2022                                      Form ID: pdf031                                                   Total Noticed: 2
Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 5
     Case 8:21-ap-01095-SC Doc 56 Filed 09/04/22                       Entered 09/04/22 21:14:35            Desc
                         Imaged Certificate of Notice                  Page 3 of 3


1
2
                                                                          FILED & ENTERED
3
4                                                                               SEP 01 2022
5
                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
6                                                                          BY bolte      DEPUTY CLERK


7
8                                UNITED STATES BANKRUPTCY COURT

9                    CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

10
      In re:                                              CHAPTER 7
11
      Jamie Lynn Gallian,                                 Case No.: 8:21-bk-11710-SC
12                                                        Adv No: 8:21-ap-01095-SC
13                                                        ORDER CONTINUING PRETRIAL HEARING
14                                          Debtor(s).
      The Huntington Beach Gables                  New Date/Time:
15    Homeowners Association,                      Date:           September 27, 2022
                                     Plaintiff(s), Time:           1:30 p.m.
16                                                 Courtroom:      5C-Virtual. Accessibility
          v.
                                                   information will be posted into the tentative
17                                                 ruling prior to the hearing.
      Jamie L Gallian, Randall L Nickel,
18
                                         Defendant(s).
19
20
21              The Pretrial Conference scheduled for September 22, 2022, at 10:00 a.m. is

22    hereby CONTINUED to September 27, 2022, at 1:30 p.m.

23              IT IS SO ORDERED.

24
25             Date: September 1, 2022

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